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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                          COLUMBIA DIVISION

 THE SOUTH CAROLINA STATE
 CONFERENCE OF THE NAACP, et al.,

               Plaintiffs,

          v.
                                            Case No. 3:21-cv-03302-MGL-TJH-RMG
 THOMAS C. ALEXANDER, et al.,

                Defendants.                         THREE-JUDGE PANEL




          PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                SENATE AND HOUSE DEFENDANTS’ JOINT
                  MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       The House and Senate Defendants 1 ask this Court to decide this case in their favor without

a trial by improperly elevating Plaintiffs’ burden at the summary judgment stage. In an attempt to

avoid a trial on the merits, they try to turn summary judgment into trial on the papers. But the Rule

56 standard is clear: without a showing from Defendants that there is not a single “genuine dispute

as to any material fact,” their motion ought to fail. See Fed. R. Civ. P. 56(c).

       Instead of demonstrating an absence of factual disputes, Defendants raise only material

points that are ripe for trial. On Plaintiffs’ racial gerrymandering claim, Defendants lay out

competing expert analyses that will doubtlessly require this Court to make credibility determinations

at trial. They now claim that partisan political objectives drove the redistricting process, but the

legislative record is far from clear that partisanship was a contemporaneous—or constitutional—

justification for the Legislature’s actions. If anything, it suggests the opposite. Defendants also

allege that they could not have engaged in a racial gerrymander because they set out to retain the

cores of prior districts. But that ignores that even a goal of preserving district cores—if true—

cannot end the required inquiry where even Defendants concede that significant changes in

population required significant changes to the benchmark Congressional map. It is precisely the

choice to keep certain voters in certain districts and move hundreds of thousands of other voters in

or out of them, that Defendants effectuated their racial gerrymander.

       On Plaintiffs’ intentional discrimination claim, Defendants hide behind post-hoc partisan

explanations and suggest inapplicable legal standards apply to avoid addressing the mountain of

evidence Plaintiffs have amassed for trial. And in addition to re-writing the law on intentional

discrimination, Defendants dispute Plaintiffs’ experts’ analysis on numerous factual grounds. That


1
  Election Defendants have not joined the Motion. Unless stated otherwise, references to
“Defendants” herein exclusively refer to the moving House and Senate Defendants.


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is, rather than demonstrating a lack of disputed material facts, Defendants draw them out,

highlighting the unequivocal need for trial in this case.

       Because “the right to equal participation in our political processes [. . .] mean[s] little . . . if

courts do not remain vigilant,” Abbott v. Perez, 138 S. Ct. 2305, 2360 (2018) (Sotomayor, J.,

dissenting), this Court, contrary to Defendants’ suggestions, should “decline to retreat” from their

duty to rectify unconstitutional districting schemes, Bush v. Vera, 517 U.S. 952, 986 (1996). In fact,

Plaintiffs have amassed evidence to support their racial gerrymandering and intentional

discrimination claims far beyond what is necessary at summary judgment. Extensive factual

evidence, including expert reports and deposition testimony, reveal that the South Carolina

Legislature subordinated traditional redistricting principles to race in drawing the enacted

Congressional map.       And under the Arlington Heights framework, numerous procedural

irregularities and lack of transparency during the redistricting process; the recent continuation of

official discrimination in South Carolina political processes; and the Congressional map’s

discriminatory impact on Black voters demonstrate that the Legislature intentionally harmed Black

voters based on race. Contrary to Defendants’ mischaracterization of Plaintiffs’ request for relief,

Plaintiffs ask that this Court remedy these constitutional violations as appropriate—after

adjudication on the merits.

       Given the numerous material factual disputes surrounding Plaintiffs’ racial gerrymandering

and intentional discrimination claims, the Court should deny Defendants’ Motion for Summary

Judgment (“Motion” or “MSJ”).

I.     PLAINTIFFS’ RULE 56(C)/LOCAL RULE 7.05(A)(4) STATEMENT

       A.      There are Material Differences Between the Congressional
               Plan and the 2011 Map




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       1. The Congressional Plan’s drafters significantly changed South Carolina’s Congressional

map. These changes are most evident in the Charleston metropolitan area, but the map also made

numerous surgical adjustments in predominantly Black metro areas surrounding Columbia, Sumter,

and Orangeburg. In particular, the new map:

   •   Cuts most of the City of Charleston out from Congressional District (“CD”) 1, its historical
       home dating back to the early 1900s; Ex. 1 (Trende Dep. Tr.) at 119:2-11, 133:18-134:4; Ex.
       2 (Trende Expert Rep.) at 10-16;

   •   Splits North Charleston, Summerville, and Ladson in an “erratic” manner with the “district
       line wind[ing] between counties, in and out of [North Charleston], and through
       neighborhoods with significant Black population”; Ex. 3 (Duchin Expert Rep.) at 17, fig.5;

   •   Splits Jasper County and moves most of it from CD1 to CD6; id. at 16;

   •   Splits Dorchester County “illogically” including having two non-contiguous pieces that have
       heavily Black portions of precincts moved from CD1 to CD6; id.;

   •   Redraws the “hook” from CD2 into Richland County by “crack[ing] voters by drawing
       district boundaries through an area in northern Richland with high BVAP”; id. at 18, fig.6.

   •   Splits the cities of Cayce, Columbia, and Forest Acres to “wrap around and divide the city
       of Columbia. . . . in a manner that cracks [the] Black population”; id. at 19, fig.7.

   •   Separates the predominantly Black community of Orangeburg (in CD6) from its
       predominantly Black suburbs (in CD2); id. at 18, fig.6.

   •   Splits the majority Black city of Sumter and neighborhoods of East Sumter and Mulberry
       between CD5 and CD6 with the “dividing line wend[ing] through a heavily Black region”;
       id. at 20-21, figs.8 & 9.

As Plaintiffs’ expert Dr. Moon Duchin notes, “the reassignment . . . happen[s] in scattered chunks

and shards, and is not aimed at healing key splits of cities and communities . . . including Columbia,

Sumter, Orangeburg, and Charleston . . . in a way that neither respects traditional redistricting

principles nor publicly identified community needs.” Id. at 15, fig.3.

       2. The Congressional Plan involved a massive migration and dislocation of voters from the

2011 Plan. 140,489 people (19.2% of the district population) were moved from CD1 to CD6, while



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a different 52,799 people (7.2%) were moved from CD6 to CD1. Ex. 2 (Trende Rep.) at 18. 27,650

additional people were moved out of CD6, and many thousands of people were moved out of CDs

2 (14,397), 3 (14,001), 4 (43,030) and 5 (41,347). Id. CD7 was left with de minimis population

change.

        3. The significant migration of population out of CD6 makes no sense, as the 2020 Census

showed that it had 84,741 fewer people than the target population. Ex. 4 (Benchmark Congressional

Districts with 2020 Data). The number of people moved out of CD1 (140,489) was almost twice

the district’s overpopulation (87,689). Ex. 5 (Core Constituencies Report, House Plan 2 Senate

Amendment 1); Ex. 4 (Benchmark Congressional Districts with 2020 Data). And there were

significant movements of population out of CDs 2, 3, and 5, all of which were underpopulated or

just slightly over the target population.

        4. Following this migration, the alleged “cores” of South Carolina’s Congressional Districts

bear little resemblance to the 2011 map. This is most evident in CD1, where the City of Charleston

has been excised out of its historical district, and CD6, which now stretches from Columbia to the

sea’s edge in Charleston Harbor. See Ex. 3 (Duchin Expert Rep.) at 3, 15 fig.3. And this is

confirmed by statistical data. According to the House and Senate Defendants’ own analysis, CD6

only retained 77.26% of its former residents, Exs. 6, 7 (Trende Dep. Exs. 9, 10), while their expert

concludes that CD1’s “core population retention” was only 82.84%. Ex. 2 (Trende Expert Rep.) at

18 tbl.3.

        5. These population shifts were not “race neutral.” Most dramatically, 35,629 Black CD1

residents were moved to CD6, representing 24.5% of the Black population of CD1. Ex. 6 (Trende

Dep. Ex. 9). As Dr. Duchin observed, the district line weaves “in and out of the city, and through

neighborhoods with significant Black population.” Ex. 3 (Duchin Expert Rep.) at 17 fig.5. Dr.




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Jordan Ragusa, who studied the racial demographics of the precincts moved between the old and

new map, found the movement of Black voters was statistically significant in CDs 1, 2, 3, 5, and 6,

with Black voters being excluded from CDs 1, 2, and 5 and kept or added to CDs 3 and 6, and that

“race was an important factor in the design of [all of these] district[s].” Ex. 8 (Ragusa Expert Rep.)

at 4-13.

       6. Dr. Baodong Liu, also looking at the demographics of the precinct movements, concluded

that Black voters were “much more likely to be moved out or moved into CD 1” than white voters,

and the Congressional map kept “Black VAP in CD 1 low” by “moving out . . . Black voters from

the Charleston area.” Ex. 9 (Liu Expert Rep.) at 17, 17 n.18.

       7. Race’s role as a significant factor in drawing the Congressional Map was confirmed by

Dr. Duchin and Dr. Kosuke Imai. Using computer simulations to generate 100,000 sample maps

adhering to traditional race-neutral redistricting criteria, Dr. Duchin found that the Black Voting

Age Population (“BVAP”) of the second most diverse district in the Congressional Map (CD 2) was

substantially lower than the average in her simulations. Ex. 3 (Duchin Expert Rep.) at 22-23, 23

fig.10; see also Ex. 10 (Duchin Suppl. Rep.) at 1 (reporting that the “state’s plans [i.e., the enacted

plan, like the 2011 benchmark plan] not only have unusually low BVAP in [the district with the

second-highest BVAP in each plan], but indeed have unusually low BVAP in all districts except the

highest and lowest”).

       8. Using computer simulations to generate 10,000 sample “race-blind” maps, Dr. Imai

similarly found that none of his simulations “has a lower BVAP proportion for District 1” in the

Congressional Plan, and that the redrawn, enacted CD1 had about 5.8% lower BVAP than his

average simulation. Ex. 11 (Imai Expert Rep.) at ¶¶ 27-29, 12 fig.1, 13 fig.2. Dr. Imai also found

that the Congressional Plan’s treatment of the Black population of Charleston County was an




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 extreme statistical outlier, with the BVAP of the portion of Charleston County in CD6 being 21.4%

 higher than the portion in CD1. Id. at 13-14, 14 fig.3. Dr. Imai found similar disparities between

 Richland and Sumter Counties. Id. at ¶¶ 39-45, 19 fig.8, 20 fig.9.

        9. The result is a dramatic underrepresentation of Black residents in South Carolina’s

 Congressional delegation. According to the 2020 decennial census, over 25% of South Carolinians

 (some 1,370,542 people) identified as Black on their census form, and Black residents represent

 over 25% of the state’s Voting Age Population. Ex. 9 (Liu Expert Rep.) at 11; Ex. 25 (Senate

 Response to RFAs) at RFA Nos. 4-8, 13. By moving Black voters into CD6—the lone district that

 provided Black voters an ability to elect their preferred candidate in the State’s 2011 benchmark

 plan and did not need additional Black voters to function—and cracking predominantly Black

 communities in the Charleston metro area to suppress BVAP in CD1, the Congressional Map

 reduces the ability of Black voters to elect candidates of choice from 2-3 seats to only one, and is

 “likely to be even less effective for Black voters’ chance to elect [Black preferred candidates] in CD

 1” than the prior plan. Ex. 9 (Liu Expert Rep.) at 11-13, 13 tbl.4.

        B.      South Carolina’s History, and the Duplicitous and Secretive Sequence of
                Events Leading to the Passage of the Congressional Plan, Demonstrates
                Racial Discrimination

        10. As discussed at length in the report of Dr. Joseph Bagley, South Carolina has a long

 history of racial discrimination against Black South Carolinians in its political processes. Ex. 12

 (Bagley Expert Rep.) at 4-24. In every redistricting cycle since the Supreme Court established the

 “one person, one vote” standard, South Carolina’s legislative maps have been challenged for

 discriminating against Black voters. Id. at 10-20, 24. In most of those challenges, the state’s original

 map was deemed illegal. Moreover, prior to the decision in Shelby County v. Holder, 570 U.S. 529

 (2013), the U.S. Department of Justice lodged pre-clearance objections to state and local election

 changes 122 times, including many redistricting decisions. Id. at 21.


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        11. The primary work of drafting the new maps was conducted by legislative staff,

 supervised by legislative committees.

                                                                                      Ex. 13 (House

 Response to RFAs) at RFA No. 43;                                         . In the Senate, initial maps

 were drawn by Andrew Fiffick (Senate counsel), Will Roberts (Senate mapdrawer), Charlie Terreni

 (Senate counsel), and Breeden John (Senate counsel), with consultation of John Gore, counsel of

 record in this case. Ex. 15 (Fiffick Dep. Tr.) at 245:24-247:24.

        12. As they worked, mapmakers had ready access to racial demographic information, id. at

 39:24-40:4, 42:19-25, which is generated by the Maptitude software. Ex. 16 (Benson Dep. Tr.) at

 98:11-16.



                                                       Ex. 15 (Fiffick Dep. Tr.) at 128:21-129:15;




        13. In the Senate, the process was overseen by the Senate Judiciary Subcommittee on

 Redistricting. See Ex. 19 (Fiffick Dep. Ex. 1).




        14. Both the Senate and the House adopted criteria, which they posted on their websites.

 Ex. 21 (Newton Dep. Ex. 1), Ex. 19 (Fiffick Dep. Ex. 1).




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                                                        ; Ex. 16 (Benson Dep. Tr.) at 119:2-18.



                                                                    , on the Senate side, Senate staff

 acknowledged in testimony that Defendant Rankin directed various additional, undisclosed criteria

 that were to be considered in drafting the map—specifically, “don’t touch the seventh congressional

 district, Congressman Clyburn wanted a minimal-change plan, and Congressman Joe Wilson didn’t

 want to go to Beaufort [and] wanted to keep Fort Jackson.” Ex. 23 (Roberts Dep. Tr.) at 64:20-25;

 see also Ex. 19 (Fiffick Dep. Tr.) at 248:24-249:15.



        15. The Senate also adopted procedures for receiving draft maps from the public, which

 required submissions would “be made part of the public record and will be made available in the

 same manner as other Redistricting Subcommittee public records.” Ex. 24 (Fiffick Dep. Ex. 9) at

 1. The House posted the map submissions they received on their redistricting website, Ex. 14

 (Hauger Dep. Tr.) at 29:15-18, and the Senate posted every submission they received as well, except

 for those it got from one specific source—the National Republican Redistricting Trust (“NRRT”).

 Ex. 25 (Senate Response to RFAs) at RFA Nos. 29-35; Ex. 26 (Baker Dep. Tr.) at 86:22-87:6; Ex.

 15 (Fiffick Dep. Tr.) at 203:24-204:11.

        16. Early in the redistricting process, prior to the release of the 2020 Census data, the Senate

 and House organized separate series of public hearing tours. During these tours, many South

 Carolina residents testified about particular communities of interest they wanted to keep together or

 to have made whole. Ex. 12 (Bagley Expert Rep.) at 27, 29. As Defendants admit, “the majority of

 the folks we saw at the public hearing were there to advocate for changing the districts in a way that

 would have put all of Charleston into District 1.” Ex. 15 (Fiffick Dep. Tr.) at 132:19-23. The




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 Subcommittee also heard about the importance of keeping racial minorities together to promote

 effective representation. Ex. 16 (Benson Dep. Tr.) at 123:13-22, 157:4-11; see, e.g., Ex. 27

 (November 12, 2021 Senate Judiciary Redistricting Tr.) at 88:7-90:24.

        17. Ultimately, however, the mapmakers did not consider this public testimony in drafting

 the Congressional Plan. As Mr. Fiffick testified, at the time he helped put together the first draft of

 what became S.865, he does not remember considering “specific outside input prior to the staff

 map,” and he is not aware of anyone evaluating the public submissions. Ex. 15 (Fiffick Dep. Tr.)

 at 249:21-22, 280:4-7.



        18. Before it released its initial draft map on November 23, Senate staff was contacted by

 NRRT representatives with draft maps. Specifically, Dale Oldham contacted Charlie Terreni to

 advise that the NRRT had “worked with the [six members of the] Republican congressional

 delegation on some maps” and ask how the NRRT could submit maps, and Mr. Terreni provided

 Mr. Oldham with Andy Fiffick’s personal (Gmail) address. Ex. 28 (Terreni Dep. Tr.) at 79:19-

 80:10, 83:10-84:22. On November 18, NRRT Executive Director Adam Kincaid sent two draft

 maps—labeled the “Wren” and “Palmetto” maps—to Mr. Fiffick. Ex. 29 (Fiffick Dep. Ex. 10). Mr.

 Fiffick forwarded these maps to Mr. Roberts, and they were reviewed by at least Messrs. Fiffick,

 Roberts, Terreni, and likely outside counsel in the Jones Day law firm. Ex. 28 (Terreni Dep. Tr.) at

 82:2-86:7. The following day, Mr. Terreni confirmed receipt of the maps to Mr. Oldham. Ex. 30

 (Terreni Dep. Ex. 1).

        19. Both the Wren and Palmetto maps included racial demographic data and BVAP

 numbers. Exs. 31, 32 (Terreni Dep. Exs. 3, 4), 33, 34 (Fiffick Dep. Exs. 24, 25). Like the

 Congressional Plan, neither Wren nor Palmetto had BVAP in any district higher than 50 percent,




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 and they provided that CD1 would have the lowest BVAP of any district in South Carolina. Ex. 28

 (Terreni Dep. Tr.) at 98:14-99:11, 113:19-114:11. And like the Congressional Plan, Wren and

 Palmetto split the municipalities of Charleston, id. at 101:23-102:4, 114:12-25, and Sumter and

 Orangeburg as well. Both maps also left CD 7 essentially unchanged. Id. at 115:2-8.

        20. Contrary to the policies laid out in the Senate’s Policy for Public Plan Submissions, Ex.

 24 (Fiffick Dep. Ex. 9), and in contrast to every other draft map submitted by the public and their

 publicly stated commitment to transparency, none of the maps submitted by the NRRT (including

 Wren, Palmetto, or Jessamine, discussed below) were ever published on the Senate or House

 redistricting websites. Ex. 13 (House RFA 66); Ex. 25 (Senate RFA 59-60). As Mr. Terreni testified,

 he did not know “how any member of the public would be aware of the Palmetto and Wren plan.”

 Ex. 28 (Terreni Dep. Tr.) at 119:6-12.

        21. Five days after receiving the first NRRT map, the Senate staff released its first draft plan

 on November 23, 2021, the Tuesday before Thanksgiving. Ex. 15 (Fiffick Dep. Tr.) at 258:10-21.

 The initial Senate draft was substantially similar to the Congressional Plan in that it (i) extended CD

 6 to include most of the City of Charleston (extending to the harbor), (ii) split predominantly Black

 communities in Sumter, Orangeburg, and Richland Counties, (iii) made the BVAP of CD1 the

 lowest of any of the districts (and even lower than the Palmetto or Wren plans), compare Ex. 35

 (Population Summary, Staff Subcommittee Plan) with Exs. 31, 32 (Terreni Dep. Exs. 3, 4), and (iv)

 moved a large number of voters from CD 6 to CD 1 (44,698), and vice versa (132,387), Ex. 36 (Core

 Constituencies Report, Staff Subcommittee Plan).

        22. The day after the Senate Staff posted its draft map, Mr. Oldham contacted Mr. Terreni

 again, Ex. 30 (Terreni Dep. Ex. 1); Ex. 28 (Terreni Dep. Tr.) at 116:8-117:5, and the NRRT

 submitted a third map called Jessamine. Ex. 37 (Terreni Dep. Ex. 6). The Jessamine map was




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 reviewed by Messrs. Fiffick, Roberts, and Terreni. Ex. 28 (Terreni Dep. Tr.) at 120:5-23. As Mr.

 Fiffick testified, he “remembered [the Jessamine map] looking so much like our map,” i.e., the Staff

 map that was just released. Ex. 15 (Fiffick Dep. Tr.) at 233:5-10. The Jessamine map was never

 placed on the Senate’s redistricting website, and there is no evidence that the Senate staff shared it

 with Democratic members of the subcommittee, despite being asked to by Senator Harpootlian. Id.

 at 207:16-209:24; Ex. 38 (November 29, 2021 Senate Judiciary Redistricting Subcommittee

 Hearing Tr. (“Nov. 29 Hearing Tr.”)) at 32:9-16.

        23. At the only Committee hearing on the Senate staff draft plan, on November 29, 2021,

 numerous witnesses and Committee members voiced their disapproval: the Plan was criticized by

 witnesses as a “Racial gerrymander” who said that “Black communities were split,” and Committee

 Member Senator Bright Matthews, who is Black legislative member, observed that Black voters

 had been carved out of certain areas in order to pack and crack them, including carving Black voters

 out of Charleston. Ex. 12 (Bagley Rep.) at 32-33; Ex. 38 (Nov. 29 Hearing Tr.) at 8:11-10:5, 23:6-

 26:3, 40:10-25, 42:15-44:21, 53:6-55:24, 60:4-11.         A second Committee member, Senator

 Harpootlian, asked a witness whether the map “represented a deliberate choice to take most African

 American voters and put them in CD 6 while keeping white voters in CD1.” Ex. 12 (Bagley Rep.)

 at 33; Ex. 38 (Nov. 29 Hearing Tr.) at 53:16-54:24. And both Senators Bright Matthews and

 Harpootlian complained that they had not been consulted on the draft, that the map was released on

 the Tuesday before Thanksgiving, and that the hearing was slated for the first Monday after

 Thanksgiving. Ex. 12 (Bagley Rep.) at 32-33; Ex. 38 (Nov. 29 Hearing Tr.) at 8:1-9:1, 24:7-19,

 32:21-33:4, 86:17-24. This was the last time the Committee met until January 13, 2022, when it

 approved a substantially similar version of the map. Ex. 12 (Bagley Rep.) at 42-43.




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        24. The House Ad Hoc committee released the draft plan prepared by Messrs. Dennis and

 Hauger on December 13, 2021. Ex. 13 (House RFA 42); Ex. 39 (Lucas Dep. Ex. 1). Unlike the

 Senate draft (and the Congressional Plan) the House draft focused on minimizing county splits and

 compactness, and did not split Sumter or Orangeburg Counties, Ex. 13 (House RFAs 48-49); kept

 most of Charleston County in CD 1, Ex. 13 (House RFA 51),                                       ;

 kept most of Richland County together in CD 6, Ex. 13 (House RFA 50),




                                                           See also Ex. 13 (House RFA 52-53).

        25.




        26.




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        27. The revised House plan was released to the public on December 23, 2021. Prior to the

 release, not all Ad Hoc Committee members saw it; for example, Rep. Beth Bernstein never saw the

 revised map prepared by the House before it was posted on the website. Ex. 13 (House RFA 73); Ex.

 44 (Bernstein Tr.) at 154:19-155:25; Ex. 45 (Transcript of South Carolina House Redistricting Ad

 Hoc Subcommittee Hearing, December 29, 2021 (“Dec. 29 Hearing Tr.”)) at 24:25-25:5, 29:10-30:5.

        28. The House held its public hearing on its revised staff plan on December 29, 2021.




        29. Responding to partisan critiques, certain legislators who led the redistricting process

 heard complaints about the “most obvious” example of racial gerrymandering in the splitting of

 Charleston and the reduction in CD 1 BVAP from the House staff plan, and that the unnecessary

 splitting of Charleston, Richland, and Sumter diluted Black voting strength, particularly in CD 1.

 Ex. 12 (Bagley Rep.) at 35-36; Ex. 45 (Dec. 29 Hearing Tr.) at 7:7-10:12.

        30. At the January 11, 022 House Judiciary Committee, Defendant Murphy arranged for

 Representative Newton, who is white, to preside over the meeting,

 rather than the Committee’s Vice-Chair, Representative John King, who is Black.            Unlike

 Representative King, Representative Newton had not been involved in the 2010 or any other

 congressional (or statewide) redistricting. Ex. 46 (Murphy Tr.) at 49:10-16; Ex. 20 (Lucas Tr.) at

 104:7-13. Multiple Black legislators and the South Carolina Legislative Black Caucus objected to

 this during and following the hearing. Ex. 12 (Bagley Rep.) at 38, 40;                    ; Ex. 49

 (Jan. 12 Hearing Tr.) at 58:1-7, 85:4-114:8.




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        31. During the January 12, 2022 Floor Debate, Representative Jay Jordan stated: “I will tell

 you that no partisan group, national or otherwise, were involved in the drafting of this plan. None

 of that outside partisan stuff took place in this process.” Ex. 49 (Jan. 12 Hearing Tr.) at 55:24-56:10.

 One of the Senate sponsors, Senator George Campsen similarly denied that the map was drawn for

 partisan purposes. Ex. 50 (Jan. 20, 2022 Senate Tr.) at 9:7-11, 25:20-26:6 (“I want to also address

 the issue of some allegations of partisan gerrymandering … that’s really not the case.”). At his

 deposition, Mr. Jordan further testified:




       32. No Black legislator voted for S.865 in the House Judiciary Committee. Ex. 13 (House

RFA 103) at 30. Only a single Black legislator voted for final passage of S.865. Ex. 13 (House

RFA 117) at 32.

        C.        Defendants’ Awareness that the Congressional Plan was Racially
                  Discriminatory and The Availability of Less Discriminatory Alternatives

        33. As discussed supra, mapmakers had access to racial demographic information when

 they drew the map, as it was generated by the Maptitude software

                   Ex. 15 (Fiffick Tr.) at 39:24-40:4, 40:15-41:7; Ex. 16 (Benson Tr.) at 98:11-16;


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                                                                                 Racial demographic

 information was provided to Committee members with draft maps, Ex. 15 (Fiffick Tr.) at 128:21-

 129:15, and



        34.    Committee members were repeatedly warned that drafts of S.865 were racially

 discriminatory. There were repeated objections to S.865 and its immediate predecessors on this basis

 in the Committee hearing process. At the November 29, 2021 Senate Committee hearing, the initial

 staff plan was criticized by witnesses as a “Racial gerrymander” who noted that “Black communities

 were split,” and Committee Member Senator Bright Matthews observed that Black voters had been

 carved out of certain areas in order to pack and crack them, including carving Black voters out of

 Charleston. Ex. 12 (Bagley Rep.) at 32-33; Ex. 38 (Nov. 29 Hearing Tr.) at 8:11-10:5, 23:6-26:3,

 40:10-25, 42:15-44:21, 53:6-55:24, 60:4-11. A second Committee member, Senator Harpootlian

 asked a witness whether the map “represented a deliberate choice to take ‘most African American

 voters’ and put them in CD 6 while keeping white voters in CD 1.” Ex. 12 (Bagley Rep.) at 34; Ex.

 38 (Nov. 29 Hearing Tr.) at 53:16-54:24. Similar concerns were heard in the House. At the December

 29, 2021 hearing, the map was criticized as an “obvious racial and partisan gerrymander.” Ex. 12

 (Bagley Rep.) at 35-36. Witnesses testified that the “most obvious” example of racial gerrymandering

 was the splitting of Charleston and the reduction in CD1 BVAP from the House staff plan, and

 remarked that the unnecessary splitting of Charleston, Richland, and Sumter diluted Black voting

 strength, particularly in CD 1. Id. at 35-36; Ex. 45, Dec. 29 Hearing Tr. at 7:7-10:12.

        35. When similar concerns were raised in the January 10, 2022 House Judiciary Committee

 (that the carve out of Charleston was racially motivated, Black voters packed into CD 6), Committee

 Member Neal Collins acknowledged that the Ad Hoc Committee had been “sensitive to the racial




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 aspect.” Ex. 12 (Bagley Rep.) at 38; Ex. 51 (January 10, 2022 House Judiciary Committee Meeting

 Tr.) at 3:9-16. During House floor debate, Black legislators complained about the splitting of

 Charleston and the reduction of CD 1’s BVAP. Ex. 12 (Bagley Rep.) at 40-41; Ex. 43, Jan. 12

 Hearing Tr. at 52:4-55:6, 58:16-60:7, 72:2-74:15, 75:2-85:1, 86:13-88:4.

        36.    The South Carolina Legislature was also aware that it had less discriminatory

 alternatives, including the original House staff plan and the amendment offered by Senator

 Harpootlian, discussed below. During the January 13, 2022 House debate, Defendant Jordan noted

 that the CD 1 BVAP dropped from 20.27% in the original the House staff plan to 15.67% in the

 Congressional Plan. Ex. 12 (Bagley Rep.) at 40-41; Ex. 43 (Jan. 12 Hearing Tr.) at 72:2-74:3.

        37. The South Carolina Legislature was presented with and either did not consider or

 rejected numerous other maps that met or did better on traditional redistricting principles (i.e., fewer

 jurisdictions split, more compact) than the Congressional Plan. Ex. 3 (Duchin Rep.) at 9-13. Among

 these plans was a plan submitted by Senate Redistricting Subcommittee member Senator Richard

 Harpootlian. The Harpootlian map split fewer counties and municipalities than the Congressional

 Plan, and was more compact. Id. at 9-13, Ex. 52 (Fiffick Dep. Ex. 16). In addition, the Harpootlian

 plan put most of both Charleson and Beaufort Counties whole in CD 1, which would have created

 a district with BVAP of 21.2%. Ex. 12 (Bagley Rep.) at 42, Ex. 3 (Duchin Rep.) at 9. The

 Harpootlian plan was proposed as an amendment in the Senate Judiciary Committee and the Floor,

 but was tabled by a roll call vote. Ex. 12 (Bagley Rep.) at 48-49.

                                            ARGUMENT

 I.     DEFENDANTS MISSTATE THEIR BURDEN FOR SUMMARY JUDGMENT

        For summary judgment, Defendants must show that “there is no genuine dispute as to any

 material fact” and they are “entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Courts

 “view the evidence ‘in the light most favorable to the’ nonmoving part[ies]”—here, Plaintiffs.


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 Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562, 568 (4th Cir. 2015) (citation omitted).

 If disputes of material fact remain, the Court must deny the motion. See id.

        In order to “discharge[] [their] burden,” the moving parties must “show[] that there is an

 absence of evidence to support the nonmoving party’s case.” Humphreys & Partners Architects,

 L.P. v. Lessard Design, Inc., 790 F.3d 532, 540 (4th Cir. 2015) (citation omitted). Only if

 Defendants meet this burden must Plaintiffs present “specific facts showing that there is a genuine

 issue for trial.” Id. (citations omitted). Myriad such facts remain.

        Summary judgment is not trial. Defendants conflate the summary judgment and trial

 standards and improperly assign a “demanding” trial burden to Plaintiffs on this motion. MSJ at

 1, 11, 20. But Plaintiffs carry no such burden on summary judgment. Nor is it the Court’s task at

 this stage to “weigh the evidence or make credibility determinations.” Jacobs, 780 F.3d at 569

 (citing Mercantile Peninsula Bank v. French, 499 F.3d 345, 352 (4th Cir. 2007)). Even if the

 nonmoving party bears the burden of proof at trial, “all that is required [now] is that sufficient

 evidence supporting the claimed factual dispute be shown to require . . . judge to resolve the

 parties’ differing versions of the truth . . . .” Anderson, 477 U.S. at 249 (1986) (internal quotation

 marks and citation omitted). The Court ought to reject Defendants’ attempt to convert a motion

 for summary judgment into a trial on the merits.


 II.    DEFENDANTS HAVE NOT ESTABLISHED THE ABSENCE OF MATERIAL
        DISPUTED FACTS AS TO WHETHER THE CONGRESSIONAL MAP
        VIOLATES THE FOURTEENTH AND FIFTEENTH AMENDMENTS

        After discovery, myriad facts lie at the core of Plaintiffs’ racial gerrymandering claim

 under the Fourteenth Amendment and intentional discrimination claim under the Fourteenth and

 Fifteenth Amendments. Defendants counter those facts with others, proffer partisan and other

 post-hoc (instead of contemporaneous) explanations for their redistricting choices and ask this



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 Court to accept their version of the truth on summary judgment. But this only highlights the very

 factual, live, and fundamental material disputes that defeat their motion. Especially when viewed

 in the light most favorable to Plaintiffs, these disputes (and the case) are ripe for trial. 2

         A.      Defendants Engaged in Unconstitutional Racial Gerrymandering

         Racial gerrymandering occurs when “race was the predominant factor motivating the

 legislature’s decision to place a significant number of voters within or without a particular district.”

 Bethune-Hill v. Va. State Bd. of Elections, 137 S. Ct. 788, 797 (2017) (internal citations and

 quotations omitted). Race predominates when “the legislature subordinate[s] traditional race-

 neutral districting principles to racial considerations.”        Id.   Those principles may include:

 compactness; contiguity; respecting communities of interest defined by actual shared interests;

 minimizing county, municipal, and voting tabulation district (“VTD”) boundaries; incumbency,

 and constituent consistency. Miller v. Johnson, 515 U.S. 900, 916 (1995); Ex. 19 (Senate

 Guidelines). See also Ex. 3 (Duchin Rep.) at 7-8 (describing South Carolina House and Senate

 2021 guidelines and any variances between them); Ex. 61 (House Guidelines) (including slightly

 different list of principles than the Senate guidelines). “[R]ace may predominate even when a

 reapportionment plan respects traditional principles.” Bethune-Hill, 137 S. Ct. at 798.

         A legislature’s motivations are also evaluated at the time of redistricting. Courts look to

 the “actual considerations that provided the essential basis for the lines drawn, not post hoc


 2
   Defendants do not challenge Plaintiffs’ standing in their motion for summary judgment. MSJ.
 They have thus waived standing arguments at this stage. Hunt v. Nuth, 57 F.3d 1327, 1338 (4th
 Cir. 1995) (“[A]ppellate courts generally will not address new arguments raised in a reply brief
 because it would be unfair to the appellee and would risk an improvident or ill-advised opinion on
 the legal issues raised.”). Defendants are right, in any event, to shelve standing arguments:
 Plaintiff Taiwan Scott has standing to challenge South Carolina’s Congressional plan as a resident
 of Congressional District 1 who is harmed by the racial gerrymandering and intentional vote
 dilution visited upon that district. See ECF 291 (Order and Opinion on Motions to Dismiss) at 3-
 5. Plaintiff South Carolina State Conference of the NAACP has associational standing because it
 has members who reside and are harmed by racial gerrymandering in the Challenged Districts. Id.


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 justifications the legislature in theory could have used but in reality did not.” Bethune-Hill, 137

 S. Ct. 788, 799 (emphasis added). Where race predominates in the redistricting process, the burden

 lies with defendants “to prove that its race-based sorting of voters” satisfies strict scrutiny. Cooper

 v. Harris, 137 S. Ct. 1455, 1464 (2017). Defendants must then show that the “race-based sorting

 of voters serves a ‘compelling interest’” that is “‘narrowly tailored’ to that end.” Id. (quoting

 Bethune-Hill, 137 S. Ct. at 800-01).

                 1.      Race Predominated Over Traditional Redistricting Principles in
                         Drawing the Challenged Districts

         Defendants cannot show there are no disputed material facts regarding the predominant use

 of race in redrawing the lines for CDs 1, 2 and 5. Despite their refrain that they “adhered to

 [traditional redistricting] principles rather than subordinating them to race” (MSJ at 12-16), merely

 referencing “numerous and malleable” redistricting principles does not preclude a legislature from

 using race to gerrymander. See Bethune-Hill, 137 S. Ct. at 799. Indeed, Defendants point to

 extensive evidence adduced by Plaintiffs demonstrating that race predominated—and that party

 affiliation did not. MSJ at 17-20. And in the face of multiple requests from the public (including

 Plaintiff SC NAACP) and other legislators, Defendants declined to conduct any racially polarized

 voting (“RPV”) analysis—a “cardinal factor” in avoiding unlawful racial dilution in redistricting.

 Collins v. City of Norfolk, 816 F.2d 932, 936-38 (4th Cir. 1987). Defendants cannot claim they

 simply knew—absent any analysis of whether those patterns hold true statewide as compared to

 in particular areas of the state or in all elections or certain elections—that race in South Carolina

 is “highly correlated with political affiliation,” then say, again absent evidence, that their statewide

 line drawing, impacting particular areas of the state where they sorted voters does not harm Black

 voters. As explained infra, in particular through the testimony of Dr. Liu, cracking Black voters




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 would create the same harm in the absence of RPV. And the evidence shows they did not—for

 two reasons.

        First, Defendants contend that “race was not used to draw lines” in the Congressional map,

 MSJ at 2. But the enacted map tells a different story. For example, in Charleston County, the

 border between CD 1 and CD 6—which, by Defendants’ own admission is the key area of the state

 for this inquiry, see MSJ at 6 (citing “massive population shifts” between CD1 and CD6)—snakes

 around VTDs with high Black populations (as shown here in darker green shading) to carve those

 Black voters out of competitive CD1 and pack them into already-safe CD 6.




        Defendants made this choice despite hundreds of residents of Charleston County and

 elsewhere urging Defendants to do the opposite and make that county—a community of interest

 by Defendants’ own criteria—whole in CD1. See Ex. 3 (Duchin Rep.) at 8 (describing the

 relationship between COIs and political boundaries like counties under the Senate and House

 guidelines); see also Exs. 19, 61 (House and Senate Guidelines). And they forged ahead with that



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 choice, despite public proposals and an amendment introduced by Senator Harpootlian that made

 Charleston County whole in CD 1. See, e.g., Ex. 3 (Duchin Rep.) at 3-4 (providing visuals of

 publicly proposed maps and that of Senator Harpootlian).



                                                                                               See,

 e.g., Ex. 15 (Fiffick Dep.) at 12-13, 123-127; Ex. 23 (Roberts Dep.) at 123:2-8, 242:21-25;

                                                     ; Ex. 28 (Terreni Dep.) at 192-197. This is

 consistent with Dr. Duchin’s finding that both the House and Senate Defendants’ respective

 guidelines for redistricting “clearly contemplate the use of race data.” Ex. 3 (Duchin Rep.) at 7.




                                                                                           ; Ex. 15

 (Fiffick Dep.) at 128; Ex. 23 (Roberts Dep.) at 242:21-25; Ex. 16 (Benson Dep.) at 97-98; see also

 Ex. 53 (Plan Comparison Sheets). Race data was even shared with Defendants’ outside counsel,

 along with proposed maps that redistricting staff shared with them. Ex. 28 (Terreni Dep.) at 196-

 197; Ex. 15 (Fiffick Dep.) at 127. Defendants cannot simply ignore this evidence.

        Having established that race was in fact “used,” Plaintiffs’ experts, among other evidence,

 show that race was also the predominant factor in drawing the Congressional Map. For example,

 Dr. Imai conducted redistricting simulation analysis incorporating the South Carolina House and

 Senate redistricting criteria as practicable and generated simulated redistricting plans without

 considering any data on race. Ex. 11 (Imai Rep.) at ¶¶ 3, 20-21. By examining whether the

 Congressional Map was unusual when compared with the ensemble of race-blind simulated plans,




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 Dr. Imai was able to focus on the role of race in the Congressional Map and determined that race

 played a significant role in drawing the boundary between CD1 and CD6. Id. at ¶¶ 6, 17-19.

        Drs. Liu and Ragusa showed that race was a factor in moving voting tabulation districts

 (“VTDs”) into or out of the Challenged Districts. Ex. 9 (Liu Rep. Ex. 140) at 14-21 (for CD1 and

 CD2); Ex. 8 (Ragusa Rep.) at 5-7 (for CD2, CD5, and CD6). Dr. Liu also found racial disparities

 in the counties that Defendants selected to split. Ex. 54 (Liu Rebuttal Rep. Ex. 141) at 4-7. This

 is despite Defendants’ expert Sean Trende’s contention that the state’s enacted map places a high

 priority on “repairing” split counties and precincts. Indeed, Dr. Duchin finds that the number of

 split counties (and split precincts) in the enacted map is similar to that in the 2011 benchmark map,

 and, yet, there were alternative proposals offered during the legislative process, such as by Senator

 Harpootlian, with “substantially fewer political subdivision splits.” Ex. 55 (Duchin Rebuttal Rep.)

 at 1; see also id. at 3. Dr. Duchin finds the state’s enacted plan “repairs splits selectively” and

 “conspicuously fails to heal cities and other areas of particular salience for Black communities

 (such as in the city of Sumter).” Id. at 2. And she further details that the “splits clearly identified

 as being most harmful to Black voters—such as Sumter (40% White) and key neighborhoods of

 Charleston” are not healed in the enacted map; however, “more heavily White cities (Beaufort –

 65% White, Goose Creek – 58% White, Hanahan – 65% White) are made whole”). Id. at 3.

        Moreover, Dr. Duchin highlighted substantial discrepancies in the use of traditional

 redistricting principles in the challenged districts, including but not limited to:

        Concerning CD 1

            •   “a noticeable racial skew” in “five out of six split precincts” that “do not follow any
                major roadways or bodies of water” in what she deems Dorchester County’s
                illogical split in the enacted map; five of those split precincts that have significant
                BVAPs are put into CD 6, “consistent with a strategy of cracking in CD 1.” Ex. 3
                (Duchin Rep.) at 16.




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            •   Three city splits in Charleston County that could have been kept whole. Id. at 17.
                This is in service of North Charleston being “split between CD 1 and CD 6 as the
                district line winds between counties, in and out of the city, and through
                neighborhoods with significant Black populations.” Id.

        Concerning CD 2

            •   The enacted plan preserves a “non-compact hook shape” in the Columbia area in
                Richland County in CD 2 in service of “drawing district boundaries through an area
                in northern Richland with high BVAP” to crack voters. Id. at 18.

            •   Three cities are split in Richland County, as well as two precincts in a manner that
                does not appear to follow major roads and cracks Black populations. Id. at 19.

        Concerning CD 5
           • The enacted map splits the “city of Sumter and the neighborhoods of East Sumter
              and Mulberry” that “are three major majority-Black communities” with public
              testimony indicating that the city (and County) of Sumter both identify as
              communities of interest desiring to be kept whole. Id. at 20-21.

        Defendants contend that Plaintiffs’ experts did not incorporate every traditional

 redistricting principle into certain of their analyses and argue that this “alone warrants summary

 judgment” on Plaintiffs’ racial gerrymandering claim. MSJ at 17, 20. As an initial matter, their

 attempts to minimize the weight and credibility of Plaintiffs’ experts yet again conflates summary

 judgment with trial. See Miller v. Johnson, 515 U.S. 900, 916 (1995) (race-neutral redistricting

 principles “inform the plaintiff’s burden of proof at trial” (emphasis added)). Moreover, Plaintiffs’

 experts, Drs. Duchin, Imai, Liu, and Ragusa conducted various analyses, not every one of which

 called for every TRP to be considered. Defendants cite to nothing requiring that every TRP be

 considered in every analysis. And each expert explained why they incorporated some principles

 and excluded others in specific analyses. See, e.g., Ex. 56 (Duchin Dep.) at 65:15-67:10; Ex. 11

 (Imai Rep.) at 58:2-11. 3 By design, these choices isolated specific variables that allowed these


 3
   Of course, it is impossible for computer simulations to account for every possible map or
 incorporate every traditional districting criteria, but simulations offer one evidentiary tool among



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 experts to apply trusted methodology to evaluate the South Carolina legislature’s use of race. See,

 e.g., Ex. 3 (Duchin Rep.) at 27 (explaining that her “use of the neutral ensembles” is structured “to

 consider whether it is possible that such concentration of Black opportunity [in the enacted map].”

 Ex. 11 (Imai Rep.) at 58:2-11 (incorporating core retention of districts into Dr. Imai’s simulations

 “would prevent . . . drawing any conclusions about the role race played in drawing … the enacted

 plan” because simulations would “inherit” unknown criteria from past line drawing). Of course,

 Defendants’ own expert, Mr. Trende, understood this when he committed the same supposedly

 “fatal error” of not considering every redistricting principle. Ex. 2 (Trende Rep.) at 9 (noting

 report “dos [sic] not deal with communities of interest”).

        Defendants themselves operated with an erratic, inconsistent, self-serving reliance on

 select redistricting principles identified in their respective guidelines when developing maps, citing

 whatever criteria happens to support their position while discounting other criteria that do not. But

 the Senate’s map drawer testified that the traditional, publicly disclosed, criteria here were

 subordinated to Defendant Rankin’s dictates. Ex. 23 (Roberts Dep.) at 201-202 (identifying

 multiple non-written private criteria designed to appease members of the Republican congressional

 delegation, such as minimizing change to CD 7, keeping Fort Jackson in CD 2, and keeping

 Beaufort County out of CD 2, that explained Senate line-drawing); Ex. 57 (John Dep.) at 50-55

 (disclaiming that Senate map drawing was influenced by requests from the Republican

 congressional delegation).




 others, discussed by Plaintiffs’ experts infra, that the Court can use to assess the legislature’s
 predominate motive in drawing the lines of the Challenged Districts.


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                2.      Race, Not Party Affiliation, Explains the Legislature’s Changes to the
                        Congressional Map

        Ignoring the legislative record, deposition testimony of their own legislators, and extensive

 expert analyses in this case, Defendants contend that a partisan “political explanation” motivated

 the drawing of the Congressional map. MSJ at 1. But even if Defendants could now transform

 partisan gerrymandering into a “legitimate political objective[],” MSJ at 20, their attempt to rely

 on partisan goals fails on the law and the facts. Legally, it runs afoul of the Supreme Court’s clear

 directive against post-hoc justifications. See Bethune-Hill, 137 S. Ct. at 799. And even if it had

 been a contemporaneous goal during the redistricting process, which it was not, the “use of race

 as a proxy” for “political interest[s]” is “based on the demeaning notion that members of the

 defined racial groups ascribe to certain ‘minority views’” and is the “precise use of race . . . the

 Constitution prohibits.” Miller, 515 U.S. 900 at 914. Further, Plaintiffs have proffered evidence

 showing that race, not party affiliation, accounts for the changes. If anything, Defendants’ Motion

 raises anew a core factual dispute for the Court to resolve at trial.

        Defendants try to graft post-hoc partisanship motivations onto the Congressional map but

 cannot hide the lack of record evidence that the legislature actually considered partisanship a goal

 at the time of redistricting. This is fatal to Defendants’ defense because “[t]he racial predominance

 inquiry concerns the actual considerations that provided the essential basis for the lines drawn, not

 post hoc justifications the legislature in theory could have used but in reality did not.” Bethune-

 Hill, 137 S. Ct. at 799. In fact, members of the House Ad Hoc Committee and the Senate

 Redistricting Committee and key individual staffers working with them have testified that they did

 not consider partisan advantage as a goal of the redistricting process. Ex. 58 (Rankin Dep.) at

 168:11-169:23 (“Q: Was it a goal of yours to make Congressional District 1 more reliably

 Republican going forward?” A: No.”);                                                ; Ex. 15 (Fiffick



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 Dep.) at 128-38; Ex. 16 (Benson Dep. Tr.) at 205:5-8, 206:3-7. Nor did key legislators or staff

 offer partisan considerations as a justification when they proposed draft plans or presented the final

 forms of proposed plans.



 Ex. 58 (Rankin Dep.) at 169:18-23; Ex. 15 (Fiffick Dep.) at 136;

   ; Ex. 28 (Terreni Dep.) at 270-271;

         But assuming Defendants considered partisanship, they cannot, under the Fourteenth and

 Fifteenth Amendments, target Black voters based on race, even if they are doing so for partisan

 reasons as well.      See N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 221-23

 (“[I]ntentionally targeting a particular race’s access to the franchise because its members vote for

 a particular party, in a predictable manner, constitutes discriminatory purpose.”); see also Cooper,

 137 S. Ct. at 1473 n.7 (“[I]f legislators use race as their predominant districting criterion with the

 end goal of advancing their partisan interests . . . their action still triggers strict scrutiny.”); Bush

 v. Vera, 517 U.S. 952, 968 (1996) (“When legislatures use race ‘as a proxy for political

 characteristics, a racial stereotype requiring strict scrutiny is in operation.’”). And, for the reasons

 explained, infra, there are material disputes about whether Defendants engaged in racial

 discrimination in advancing their partisan ends.

         Moreover, Defendants concede that “race is ‘highly correlated with political affiliation’”

 in South Carolina. MSJ at 20 (citing Easley v. Cromartie, 532 U.S. 234, 243 (2001) (Cromartie

 II)); so too do key legislative counsel for Senate Defendants. See, e.g., Ex. 15 (Fiffick Dep.) at

 160.



   , Ex. 23 (Roberts Dep.) at 130; Ex. 15 (Fiffick Dep.) at 253-254; Ex. 28 (Terreni Dep.) at 244-




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 248. That is, Defendants now imply that they understood at the time of map-drawing that race and

 party are correlated. But they refused to conduct an RPV analysis that would help enable them to

 assess the impact of their sorting of voters between districts. As Dr. Liu explains:

        [t]hough Plaintiffs have not brought a Section 2 claim, their theory is that the effect of
        any cracking of Black voters must be considered with the existence of any RPV . . . .
        [W]ithout RPV, the cracking of Black voters (if proved to be the case) would not have an
        effect on the opportunity of Black voters to elect candidates of their own choice. If Black
        and white voters in a disputed jurisdiction usually share the same preference for a
        particular candidate, or put another way, a sufficient number of white voters cross over
        usually to support the candidate preferred by Black voters (i.e., no RPV), then regardless
        how a district composed (including whether Black voters are cracked), the election
        outcomes should be consistent before and after the redistricting process. Ex. 9 (Liu Rep.
        at 6).
 This acknowledgement spotlights a central factual question as to whether Defendants used race as

 a proxy for party in drawing the Challenged Districts.

        Second, the evidence shows that race, not party, predominated in the legislature’s re-

 drawing of the Challenged Districts. Defendants’ own, consistent refrain that the “flash point” in

 the Congressional map was the movement of people between Districts 1 and 6 illustrates this best.

 Ex. 58 (Rankin Dep.) at 155. District 1 was overpopulated by roughly the same number of people

 as its neighbor, District 6, was underpopulated. See Ex. 4. The core VTDs on the CD1 side of the

 border between these two districts that remained after redistricting had an average BVAP of about

 11 percent. Ex. 9 (Liu Rep.) at 16 tbl.6. If Defendants’ changes were motivated by party rather

 than race, as they contend, then the VTDs that were moved from District 1 into District 6 should

 roughly mirror the average BVAP of the border VTDs. See Ex. 8 (Ragusa Rep.) at 5. Instead, the

 average BVAP of the VTDs that Defendants chose to move from District 1 into District 6 was 22

 percent. Ex. 9 (Liu Rep.) at 16, 14 tbl.6. This disproportional focus on race constitutes clear

 evidence that race, not party, predominated in the changes that “largely … occupied” Defendants’

 “time and [effort].” Ex. 58 (Rankin Dep.) at 152:25-153:5. This is additionally evident if one looks




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 at districtwide implications. Before redistricting, the BVAP of CD1 was 17.3%. But voters moved

 from CD1 to CD6 had a BVAP of 24.3%—a nearly 7% difference. Ex. 62 (Ragusa Rebuttal Rep.)

 at 7.

         Defendants claim that alternative maps did not maintain the Legislature’s desired 6-1

 Republican split, and therefore were somehow illegitimate. MSJ at 22. But alternative maps were

 presented that could have been adjusted to maintain this purported post-hoc goal without

 gerrymandering based on race. It’s just that Defendants devised (or first voiced) their partisan-

 gerrymandering preference after the fact, in litigation, after all the alternative maps had been

 submitted. Ex. 59 (Bagley Rebuttal Rep.) at 5-7; see also supra.

         Still, Dr. Duchin identifies alternatives to the enacted map, including ones that sustain the

 majority party’s advantage in most elections without cracking (and harming) Black communities.

 Indeed, she provides an alternative plan that “leaves CD 6 and therefore CD1 nearly unchanged”

 as compared to the enacted districts except to uncrack challenged CD5 “mostly by changing a

 single (CD 2 / CD 5) boundary line.” Ex. 3 (Duchin Rep.) at 23-24; see also Ex. 55 (Duchin

 Rebuttal Rep.) at 1. She further performed an “effectiveness” analysis of this alternative to the

 enacted districts in which “CD 5 does not always have a win for the Black candidate of choice—

 but that candidate receives at least 47.5% of the vote in each of the four elections [she analyzed

 using the alternative districts], winning outright in one of the four.” Ex. 3 (Duchin Rep.) at 23

 n.8. 4 So, unlike the plaintiffs in Cromartie II who relied on “evidence of forgone alternatives”

 through a “set of arguments of the would-have-could-have variety,” Cooper, 137 S. Ct. at 1481,



 4
   See also id. at 27 (explaining that “many alternatives that were available to the legislature”
 including that of Senator Harpootlian, whose proposed map is comparable or superior to the state’s
 enacted map in all the TRPs considered by Dr. Duchin, but unlike the enacted map, would “tend
 to allow Black voters an opportunity to elect candidates of choice at a level in keeping with the
 human and political geography of the state”); see also Ex. 55 (Duchin Rebuttal Rep.) at 1, 4 (same).


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 Plaintiffs have developed extensive expert reports and factual testimony to support their racial

 gerrymandering claim, supra II.A.1. That is, although Plaintiffs are not required to present

 alternative maps for a racial gerrymandering claim—which Defendants concede—they did just

 that. MSJ at 22 (citing Cooper, 137 S. Ct. at 1481).

        Further, Defendants contend that Plaintiffs “must decouple race from politics” in order to

 show that race rather than party predominated in the Congressional map. MSJ at 20. Even if true

 at trial, this core dispute of material facts precludes summary judgment. The record shows ample

 factual and expert evidence, discussed supra, on the legislature’s predominant use of race. And

 Plaintiffs’ expert Dr. Liu, in particular, performed an empirical test on the enacted Congressional

 map to decouple race and party. Ex. 9 (Liu Rep.) at 14-21. Defendants’ attempt to undercut his

 findings misrepresents the import of the report’s figures. See MSJ at 23. Rather than base his

 conclusions on the “net” movement of individual voters, as Defendants assert, see id., Dr. Liu

 found that “white Democratic voters are 17.3% of the total voters that remained in CD 1 while

 only 11.1% of these ‘kept-in’ voters are Black Democratic voters.” Ex. 9 (Liu Rep.) at 16. Dr. Liu

 similarly found that the “shares of white and Black voters with the same party affiliation” that

 were moved out of, or left in, CD2 were not equal. Id. at 18. That is, Dr. Liu, like Dr. Ragusa,

 found that Black voters were disproportionately more likely to be moved than were white voters

 within the same party in CDs 1 and 2. This empirical evidence based on proportionality between

 groups—rather than the absolute numbers of net voters—indicates a “greater role of race than

 party.” Id.; see also Ex. 8 (Ragusa Rep.) at 4.

        Additionally, Dr. Duchin performed analyses to “consider whether it is possible that such

 concentration of Black [electoral] opportunity is merely a function of political geography.” Ex. 3

 (Duchin Rep.) at 27. She found that it is not. In particular, “[o]nly 12.4% of maps drawn in a




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 race-neutral fashion” as Defendants posit the enacted plan was “have as low an effectiveness score

 [for Black electoral opportunity] as the state’s [enacted] plan when considering probative

 [historical] elections.” Id. And further, she found that when considering even more historical

 electoral history data, the state’s enacted plan, like the 2011 benchmark map, “are not outliers in

 their performance in generic partisan races.” Id. However, “they only stand out in the [contests]

 with a Black candidate on the ballot, where the preferences of Black voters most diverge from

 those of White voters.” Id. She posits, “it is not plausible that the concentration of Black voters

 in the state’s [enacted] plan was merely a side effect of partisan concerns. The state’s plan is quite

 ordinary . . . in its effectiveness for the generic Democratic voter, but only shows up as unusually

 ineffective … when the [contests] most probative for Black voters are separately considered.” Id.;

 see also Ex. 55 (Duchin Suppl. Rep.) at 2-4, 8-11 (providing additional detail about the electoral

 history data she examined to provide evidence that “race was predominating over even partisan

 advantage in the enacted map”).

                 3.      Core Retention Is Not a Shield Against Racial Gerrymandering
                         Claims

          While preserving cores of prior districts may “appear[] to be facially neutral and serve[]

 neutral political values,” core retention “holds a special place in the predominance balance.”

 Bethune-Hill v. Va. State Bd. of Elections, 141 F. Supp. 3d 505, 544 (E.D. Va. 2015), (“Bethune-

 Hill I”), aff’d in part, vacated in part, 137 S. Ct. 788. It earns that “special place” because it is in

 conflict with the primary purpose of redistricting: adjusting electoral districts based on the changes

 to state populations over the course of a decade. See id. Moreover, it “may be used to insulate the

 original basis for the district boundaries,” id., which may have been unlawful when they were first

 drawn.     Thus, where legislatures assert that district lines merely follow maps from prior




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 redistricting cycles, “courts should also examine the underlying justification for the original lines

 or original district.” Id. at 544-45.

         Defendants use core retention to once again rationalize their actions in redistricting after

 the fact. In truth, Defendants did not raise core retention as a primary consideration during,

 including during multiple public hearings and committee meetings, until January 2022. Ex. 59

 (Bagley Rebuttal Rep.) at 4-8. As with the post-hoc partisan excuse for the redistricting lines

 discussed supra, Defendants’ belated reliance on core retention to explain its redistricting choices

 should be rejected. See Bethune-Hill I, 141 F. Supp. 3d at 545.

         Nor does the record reflect that preservation of district cores, allegedly a facet of

 “constituent consistency,” play a central role in the House and Senate redistricting guidelines: it is

 not listed at all in the House guidelines, and it is only listed under “Additional Considerations” in

 the Senate criteria—far below the mandates of federal constitutional and statutory law. Exs. 19,

 61 (House and Senate Guidelines); see also Ex. 28 (Terreni Dep.) at 231:11-232:16, 268:5-270:25;

 Ex. 15 (Fiffick Dep.) at 119:5-120:24; Ex. 16 (Benson Dep.) at 158:15-159:12. “Constituent

 consistency” is also listed as having no particular predominance over other considerations in the

 Senate guidelines’ “Additional Considerations” section such as keeping counties and cities whole.

 Id. And Defendants have not defined—for the public during the redistricting process or now before

 this Court—the point at which core retention percentages sufficiently negate equal protection

 constitutional violations. See MSJ at 13; see also Ex. 28 (Terreni Dep.) at 268-270. In addition,

 if Defendants truly sought to minimize change from the 2011 plan, they would not have

 unnecessarily moved 52,799 people out of the underpopulated District 6 and into the

 overpopulated District 1, exacerbating the population imbalance and forcing even more changes

 from the 2011 plan.      See Ex. 2 (Trende Report) at 18. As such, their arguments that the




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 Congressional map’s core retention rates preclude a finding of racial gerrymandering are

 inapposite. See MSJ at 13-14; Bethune-Hill, 137 S. Ct. at 799.

        Further, Defendants’ assertion that core retention precludes illegality is factually incorrect,

 especially given the drastic population imbalance between Districts 1 and 6 that made changes to

 the prior map necessary. Defendants concede the point when they assert that “six of the seven

 districts” have “high core retention rates,” yet CD6’s is “not quite as high” because “severe”

 population changes made it necessary to “add thousands of voters” into that district and move

 numerous others out of CD1. MSJ at 13. This is true. See Ex. 55 (Duchin Rebuttal Rep.) at 2, 4

 n.4 (explaining that “South Carolina has been growing less White overall, with the WVAP share

 dropping” and “[g]reater Charleston and the Lowcountry region hav[ing] seen some of the greatest

 increases in BVAP overall”). Further, Defendants admit that the border between Districts 1 and 6

 was “largely what occupied” Defendants’ redistricting process. Ex. 58 (Rankin Dep.) at 152:25-

 153:5. Accordingly, high core retention in districts where cores did not change over the past

 decade (e.g., CDs 3, 4, 7) is a red herring at best—the significant changes in redrawing CDs 1 and

 6 defeat Defendants’ reliance on core retention. 5

        In any event, mere mention of core retention cannot shield legislative action from judicial

 inquiry into alleged constitutional violations. Yet this is exactly what Defendants ask of this Court.

 They claim that because the enacted Congressional map is “largely a continuation” of the 2011




 5
   Defendants also miss the essence of Plaintiffs’ claim concerning CDs 2 and 5. Whether there was
 largescale movements of voters to/from/within those districts are not appropriate inquiry for
 assessing racially discriminatory treatment. Instead, it is the way that Black, not white voters, are
 treated—regardless of the scale. As one example, Dr. Liu’s analyses demonstrate that race, rather
 presumed party affiliation, is a driving factors to whether voters remained or were moved in and
 out of CD 2. Ex. 9 (Liu Rep.) at 20-21. Likewise, Defendants fail to examine and rebut the fact
 that Black voters are disproportionately more likely to be in split counties than non-split counties.
 Ex. 54 (Liu Rebuttal Rep.) at 4-6.


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 maps precleared under Section 5 of the VRA and upheld by this Court against constitutional and

 Section 2 claims, it cannot now be a racial gerrymander. MSJ at 2, 5, 12-14. In doing so,

 Defendants conflate several well-established judicial inquiries. Just as a racial gerrymandering

 claim is “analytically distinct” from a Section 2 vote dilution claim, Miller v. Johnson, 515 U.S.

 900, 911 (1995) (citing Shaw v. Reno, 509 U.S. 630, 652 (1993)), the Section 5 non-retrogression

 standard is distinct from the applicable legal standard in a constitutional challenge. Compare Beer

 v. United States, 425 U.S. 130, 141 (1976) (“the purpose of Section 5 has always been to insure

 that no voting-procedure changes would be made that would lead to a retrogression in the position

 of racial minorities with respect to their effective exercise of the electoral franchise”), with

 Bethune-Hill, 137 S. Ct. at 797 (“a plaintiff alleging racial gerrymandering bears the burden ‘to

 show […] that race was the predominant factor motivating the legislature’s decision to place a

 significant number of voters within or without a particular district’”) (citation omitted). Thus,

 prior review under a now-largely immobilized provision of the VRA (Section 5) say little about

 the present constitutional inquiry.



           .6

        It is true that this Court upheld one district—Congressional District 6—against a racial

 gerrymandering claim in Backus v. South Carolina. 857 F. Supp. 2d 553, 560 (D.S.C.), aff’d, 568

 U.S. 801 (2012). But the Court did not uphold any of the prior versions of the Challenged Districts

 in this case (i.e., CDs 1, 2, and 5) against such a claim. See id.; Ex. 1 (Trende Tr.) at 114:23-115:5.

 Even if it had, based on new census data and new sorting of voters), Defendants have been clear



 6
   See also Colleton Cnty. Council v. McConnell, 201 F. Supp. 2d 618, 635 (D.S.C. 2002) (noting
 “in the redistricting context, Section 5 has quite a limited substantive goal,” and citing
 retrogression standard laid out in Beer).


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 that CD6’s “severe underpopulation [in 2020] required the General Assembly to add thousands of

 voters.” MSJ at 13. Thus, even a plan with minimal change would differ substantially from the

 plan at issue in Backus. And South Carolinians’ guarantee to vote in Congressional districts that

 have not been racially gerrymandered cannot be overcome by an outdated map that passed

 unrelated legal tests under substantially different demographic conditions. See Ex. 55 (Duchin

 Rebuttal Rep.) at 1, 2 (since “South Carolina’s demographics and electoral dynamics . . . have all

 shifted in the last ten years,” then “a map with very high core retention can be dilutive of Black

 voting power while its [2011] predecessor was acceptable under a different set of facts and rules.”).

         Moreover, even if core retention was a top redistricting criterion for Defendants, that need

 “not lock in the dilutive effects found in the state’s [enacted] plan.” Ex. 55 (Duchin Rebuttal Rep.)

 at 1. Indeed, an alternative map, discussed infra, retains “92% of the population” assigned to

 districts in the enacted map, as it “differs in a single boundary between two districts”; yet, that

 alternative proposal, “nonetheless outperforms” the state’s enacted map “in terms of the ability of

 Black voters to elect their candidates of choice.” Id.; see also id. at 2-3, 4.

         In short, even if core retention had been the actual, contemporaneous justification for the

 enacted map, which it was not, and core retention was a legitimate guiding criterion for redrawing

 the lines after the 2020 Census, which under all circumstances it is not, core retention did not make

 it necessary to dilute Black voting opportunity in the challenged districts.

         B.      Defendants Intentionally Discriminated on the Basis of Race

         It is “well established” that state action pursued with discriminatory intent violates the

 Equal Protection Clause. Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265

 (1977). A legislature intentionally discriminates based on race where race is “a motivating factor”

 in its redistricting decisions. Id. at 265-66. Because “rarely can it be said that a legislature” is

 “motivated solely by a single concern,” Plaintiffs need not allege that race was the “dominant” or


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 “primary” purpose. Id. at 265. Instead, courts evaluating an intentional discrimination claim must

 engage in a “sensitive inquiry into such circumstantial and direct evidence of intent.” Id. at 266.

        Arlington Heights guides the inquiry into discriminatory purpose. An “important starting

 point” is whether the “impact of the official action . . . bears more heavily on one race than

 another.” Id. (internal quotation marks and citations omitted). In most cases, courts then must

 look to particular “evidentiary source[s]” indicative of discriminatory intent. Id. at 267. These

 include but are not limited to: “[t]he historical background of the [challenged] decision;” “[t]he

 specific sequence of events leading up to the challenged decision”; “[d]epartures from normal

 procedural sequence”; and the legislative history of the decision, “especially where there are

 contemporary statements by members of the decisionmaking body, minutes of its meetings, or

 reports.” Id.; see also McCrory, 831 F.3d at 221. It is well-settled that “[o]utright admissions of

 impermissible racial motivation are infrequent and plaintiffs often must rely upon other evidence.”

 Hunt v. Cromartie, 526 U.S. 541, 553 (1999) (Cromartie I).

        At the summary judgment stage, genuine disputes of material facts related to a state

 legislature’s discriminatory intent must be resolved at trial. See id. Indeed, summary judgment is

 generally inappropriate in intentional discrimination cases like this one because the “legislature’s

 motivation is itself a factual question.” Id. The record is clear that Defendants are not entitled to

 summary judgment on this claim.

                1.      The Congressional Map Has a Racially Discriminatory Impact

        A map has a racially discriminatory impact when it “bears more heavily on one race than

 another.” Arlington Heights, 429 U.S. at 266. Rather than assert that this is not the case with the

 enacted plan, as discussed supra, Defendants again try to graft post-hoc partisanship explanations

 onto the Congressional map and ignore clear evidence of racially discriminatory impact on Black

 South Carolinians. Defendants also misstate Plaintiffs’ claims as asking for “coalition” districts


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 and try to shoehorn Plaintiffs into a different legal framework for vote dilution claims that the

 Supreme Court rejected in Bartlett v. Strickland. MSJ at 3, 26-28; 556 U.S. 1 (2009). In reality,

 Plaintiffs have presented straightforward claims and ample evidence of cracking in the

 Congressional map that disproportionately harms Black voters.

        Dr. Liu, for example, finds undeniable RPV patterns in South Carolina. Ex. 9 (Liu Rep.)

 at 6-11, 21. Defendants do not—and cannot—contest these findings. 7 Nor can they dispute that

 an RPV analysis is essential to understanding the effect that the cracking of Black voters has on a

 redistricting plan. As Dr. Liu explains, “in a congressional district in which white voters are the

 majority or supermajority of voters, RPV can function to deny or diminish Black voters’ ability to

 elect or otherwise impact the elections of their preferred candidates.” Ex. 9 (Liu Rep.) at 6. As

 described below, the RPV analysis is also essential to effectiveness analysis for the same reasons.

 It would be much more difficult for Black voters to elect a candidate of their choice in a district

 with RPV because of white bloc voting. Id at 5.

        Defendants claim the enacted map “does not have a discriminatory effect” on Black voters

 but rather “has an effect on Democrats.” MSJ at 27. But Plaintiffs’ experts found the opposite to

 be true. Dr. Liu, for example, found that the Congressional map treats Black voters differently

 than it treats white voters, even where those voters are members of the same political party. Ex. 9

 (Liu Rep. Ex. 140) at 14-21. And, just as the net number of voters moved between the challenged

 districts asks the wrong question for racial gerrymandering, supra, it is irrelevant for

 discriminatory impact that “just as many or more” white Democrats as Black Democrats reside in




 7
  Indeed, before any maps were proposed, House Defendants hired an expert who first assumed
 RPV patterns and then also found such patterns to exist based on two recent statewide elections.
 Ex. 63 (Brunell Dep. Tr.) at 59:20-61:22, 62;3-21, 80-12-22, 100:19-101:12; Ex. 64 (Brunell
 Expert Report).


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 each of the challenged districts. MSJ at 27. That is, Plaintiffs’ expert analyses of the changes to

 the map once again undercut Defendants’ repeated attempts to impose post-hoc partisan

 explanations at every stage of their argument.

        Instead, the map shows that Defendants: drew lines directly through Black communities in the

 historic neighborhood of West Ashley, North Charleston, and Charleston, artificially splitting Black

 communities between CDs 1 and 6 and pushing disproportionately Black Democrats into CD6; split

 the city of Sumter (and neighborhoods within it in which Black communities reside), dispersing Black

 voters between CDs 2 and 6; and ran roughshod via Black communities in Richland, dispersing them

 between CDs 2 , 5, and 6. Ex. 8 (Ragusa Rep.) at 4; Ex. 3 (Duchin Rep.) at 15; see also Ex. 66

 (providing visuals of the cracking of specific areas of the enacted map in CDs 2 and 5). “[T]he

 reassignment” of key areas in the challenged districts “happen[s] in scattered chunks and shards, and

 is not aimed at healing key splits of cities and communities that were frequently cited in the public

 testimony [collected by Defendants], including Columbia, Sumter, Orangeburg, and Charleston.” Ex.

 3 (Duchin Rep.) at 15.     Such “cracking” of Black communities is quintessential evidence of

 discriminatory impact. Defendants’ decision to do so despite ample warning of dilution from the

 public and other legislators shows that the impact on Black voters was foreseeable and preventable.

 Ex. 60 (January 2022 Written testimony of Opperman/Harpootlian comparing SA1/Campsen &

 SA2/Harpootlian); Ex. 28 (Terreni Dep.) at 315:12-25; Ex. 15 (Fiffick Dep.) at 292:6-295:25.

        Indeed, Dr. Duchin opines, “considering . . . the increased Black population in the Columbia

 and Charleston areas … we would expect increased electoral opportunities for Black voters to be

 reflected in the Congressional plan.” Ex. 3 (Duchin Rep.) at 27. The enacted map does the opposite:

 “instead, Black population is cracked across Congressional districts 1, 2, and 5 in a way that

 demonstrably diminishes Black voters’ ability to elect candidates of choice.” Id.; see also Ex. 55




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 (Duchin Rebuttal Rep.) at 4 (describing how despite CD 6’s BVAP drop of 5-6 percentage points

 in the enacted map from the 2011 benchmark, neither CDs 5 nor 7 received increased BVAP share;

 instead, Black voters were cracked across multiple districts).

        Drs. Liu and Duchin also found that the enacted map reduced Black voters’ ability to elect

 candidates of their choice or impact the outcome of elections featuring candidates of their choice.

 Ex. 9 (Liu Rep.) at 11-14; Ex. 3 (Duchin Rep.) at 25-26. That is, by disregarding traditional

 principles such as respect for maintaining whole counties and cities, to disperse Black voters into

 and among districts (Duchin’s analysis), in the presence of RPV in which Black voters and white

 voters tend to prefer different candidates in South Carolina elections (Dr. Liu’s analysis),

 Defendants ensured Black voters’ voices were silenced in every congressional district outside of

 CD6 in which they were cracked and rendered a minority of voters. See, e.g., Ex. 9 (Liu Rep.) at

 12-13; Ex. 55 (Duchin Suppl. Rep.) at 1-2.

        Indeed, had Defendants respected their own criteria and left Black communities in these

 areas intact in the manner proposed during the legislative process (e.g., by Senator Harpootlian),

 Black voters’ power would not be relegated to CD 6. Ex. 55 (Duchin Rebuttal Rep.) at 4 (“the strict

 confinement of Black electoral opportunity to a single district—CD6—emerges as the leading

 hypothesis for the design principles that drove the construction of the Enacted 2022 plan”). For

 example, Dr. Duchin considered electoral history data to ascertain whether candidates of choice of

 Black voters can be effective in the enacted map as compared to under the 2011 benchmark map

 and other proposed maps in 2021. Ex. 3 (Duchin Rep.) at 25-26. She found that like the state’s 2011

 benchmark map, the enacted map “confine[s] Black electoral opportunity to a single district”

 demonstrated by the fact that “all four Black candidates of choice” in the four probative historical

 elections (from 2018 and 2020) she considered “would have won the district, while none of them




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 would have one in the other six districts.” Id. at 25; see also Ex. 9 (Liu Rep.) at 12-13. By

 comparison, her analysis of these historical elections under other proposed maps shows that other

 plans for the legislature’s consideration would have extended effectiveness for Black voters to more

 districts, including CD 1. Ex. 3 (Duchin Rep.) at 25. Contrary to Defendants’ assertion that this

 indicates that “Plaintiffs ask the Court to draw” competitive influence districts, this evidence of the

 potential to create additional districts that would perform effectively for Black voters in more

 elections directly relates to the discriminatory impact of the enacted map. MSJ at 26; Ex. 3 (Duchin

 Rep.) at 25-27; Ex. 55 (Duchin Suppl. Rep.) at 6, 8-11; Ex. 9 (Liu Rep.) at 11-13.

         Indeed, despite Defendants’ attempts to rewrite the Prayer for Relief in the Third Amended

 Complaint, Plaintiffs have not asked this Court to draw any map. Plaintiffs allege that Defendants

 have intentionally discriminated against Black South Carolinians and ask this Court to enjoin the

 unconstitutional Congressional map. No more, no less. It is the role of the Court to grant relief,

 and consideration of remedies—let alone who is responsible for developing them—before

 adjudication on the merits, much less at summary judgment, is improper. See Covington v. North

 Carolina, 316 F.R.D. 117, 176 (M.D.N.C. 2016), aff’d, 137 S. Ct. 2211 (2017) (“Having found

 […] racial gerrymanders in violation of the Equal Protection Clause, we must now address the

 proper remedy”); see also Wise v. Lipscomb, 437 U.S. 535, 540 (1978) (“When a federal court

 declares an existing apportionment scheme unconstitutional, it is therefore, appropriate . . . to

 afford a reasonable opportunity for the legislature to meet constitutional requirements by adopting

 a substitute measure . . . .”).

                 2.       Defendants Enacted the Congressional Map With a Discriminatory
                          Purpose

         Despite the presumption of “good faith” on behalf of a state legislature, MSJ at 1 (citing

 Miller v. Johnson, 515 U.S. 900, 915 (1995)), the Supreme Court (and other courts) continue to



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 adjudicate intentional racial discrimination claims and “has recognized that ‘[o]utright admissions

 of impermissible racial motivation are infrequent and plaintiffs often must rely upon other

 evidence.’” McCrory, 831 F.3d at 221 (citing Cromartie I, 526 U.S. at 553). The fact that no

 legislator deposed by Plaintiffs made such a bald admission, see MSJ at 9, 29-20, is unsurprising

 and not dispositive. This Court must therefore “consider the broader context surrounding the

 passage of legislation,” id., including by looking to circumstantial evidence of discriminatory

 intent, Arlington Heights, 429 U.S. at 266.

        There is substantial circumstantial evidence of intentional racial discrimination in the

 record to create triable issues of fact. The record shows that S. 865 is part of a long history of

 racial discrimination in South Carolina political processes, and the 2020 South Carolina

 redistricting process deviated from established procedures and rules of transparency. Ex. 12

 (Bagley Rep.) at 4-24. Ultimately, Defendants had a choice between at least two proposed maps—

 one that cracked Black voters between challenged districts like CDs 1 and 6, CDs 5 and 6, CDs 2

 and 6, and CDs 2 and 5, and one that did not. Despite hundreds of citizens, organizations, and

 experts explaining how damaging the former choice would be to Black voters, Defendants

 willfully chose it anyway.

        First, Defendants argue that the State’s history of discrimination is “too remote.” MSJ at

 30. But that ignores that the Supreme Court has identified historical discrimination as probative

 of intentional discrimination. Arlington Heights, 429 U.S. at 266-68. Even still, Plaintiffs’ expert

 Dr. Joseph Bagley’s report shows that discrimination against Black South Carolinians has

 continued “even very recently.” Ex. 12 (Bagley Rep.) at 49; see also id. at 10-24 (showing that in

 each redistricting cycle from 1970 through 2010, South Carolina’s legislative map(s) has been

 challenged for discrimination against Black voters); id. at 22-23 (documenting federal government




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 objections to proposed voting changes, including in 2011 when South Carolina attempted to

 impose a strict photo identification law).

        Further, even “long-ago history” may “bear heavily” in this inquiry because failure to take

 that into account “would risk allowing that troubled history to pick up where it left off … to the

 detriment of African American voters[.]” McCrory, 831 F.3d at 223 (internal quotation marks and

 citations omitted). Indeed, Dr. Bagley’s chronicle reaches into the past decade to describe

 instances of official discrimination in redistricting and voting more broadly, as well as other areas

 of legislative activity. Ex. 12 (Bagley Rep.) at 20-24. This is especially relevant given that “what

 matters,” as Defendants note, “is the intent of the current legislature.” MSJ at 30 (citing Abbott v.

 Perez, 138 S. Ct. 2305, 2325 (2018)) (internal quotation marks omitted). This is certainly

 probative of that same legislature’s racially discriminatory intent during this redistricting process.

 Ex. 12 (Bagley Rep.) at 12-15.

        On the second and fourth Arlington Heights factors, which direct courts to consider the

 legislative record and process for enacting the Congressional map, Defendants all but abdicate

 their roles as representatives and state that “the General Assembly could not have incorporated all

 public input.” MSJ at 32. This refers to the public input that the Senate and House actively

 sought—at least theoretically—in hearings in the summer of 2021 before accepting maps from the

 public and proposing their own maps.         Instead, the record shows that the Senate did not

 meaningfully consider and analyze any of the seven publicly submitted maps posted on its website.

 See Ex. 15 (Fiffick Dep.) at 280-284 (explaining that unless and until a legislative member sought

 to offer a publicly submitted map as an amendment, virtually nothing was done with those maps).

 Nonetheless, key legislative members engaged with the National Republican Redistricting Trust

 (NRRT) often enough to accept three maps submitted by that partisan organization—outside of




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 the timeframe and form for submission of public maps. Ex. 15 (Fiffick Dep.) at 194-195, 240-

 242; Ex. 28 (Terreni Dep.) at 83-84, 89. They also provided feedback on some of those maps,

 because they, unlike the maps submitted by non-partisan and Democratic-affiliated groups, were

 viewed as having something to contribute to the legislative process. Id. To this day, legislative

 counsel, Andy Fiffick, acknowledged that the only way the public would know about those NRRT

 submitted maps is if they sought them through a public records request because they were never

 well-publicized and made accessible on the Senate’s website. Ex. 15 (Fiffick Dep.) at 202; Ex. 28

 (Terreni Dep.) at 119; Ex. 23 (Roberts Dep.) at 119 (explaining that publicly posting the maps

 would’ve been beneficial for mapdrawers). Thus, Plaintiffs have detailed a strong lack of

 transparency and responsiveness throughout the process, from defying repeated warnings from

 legislators and the public that the proposed map would dilute Black voting strength in the state,

 see supra, to considering certain public input and largely disregarding most of it on proposed maps.

 Ex. 12 (Bagley Rep.) at 24-41 (cataloguing transparency concerns raised by the public and based

 an assessment of the full public record).

        Defendants attempt to paint the process leading up to the enactment of the Congressional

 map as “robust” and “generally analogous” to prior redistricting cycles. MSJ at 31. But Plaintiffs

 have described “a number of procedural irregularities” and departures from prior processes in both

 the House and the Senate. Ex. 12 (Bagley Rep.) at 38; Arlington Heights, 429 U.S. at 267

 (“departures from normal procedural sequence” are indicative of discriminatory intent). For

 example, the House formed an ad hoc committee to handle redistricting, instead of assigning the

 task to the Elections Subcommittee as it had in past cycles. See Ex. 12 (Bagley Rep.) at 41.




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        At one point in the House’s consideration of congressional maps before the House

 Judiciary Committee, members decided to bypass the Committee’s first vice-chair, Representative

 John King, a Black Democrat with statewide redistricting experience, in filling the Chairman’s

 vacancy. Ex. 12 (Bagley Rep.) at 38. The South Carolina Legislative Black Caucus voiced its

 grievance to the Chair of the House Ad Hoc Committee, Representative Murphy, for this failure

 to appoint Representative King. See Ex. 48 (Letter from the SC LBC).




        In the Senate, a redistricting subcommittee was also formed to lead the development of

 Senate maps. But ultimately, those maps were drawn behind closed doors by a handful of

 legislative staff and select (non-Black) committee members. The initial Senate plan was created

 by staff cartographer, Will Roberts, legal counsel, Andrew Fiffick, and another legal counsel,

 Charles Terreni. Ex. 23 (Roberts Dep.) at 161:3-8, 164:24-165:6; Ex. 15 (Fiffick Dep.) at 246:18-

 21. As noted, the Senate engaged directly with outside partisan groups through private channels

 that contradicted the Subcommittee’s submissions policy around the same time as it considered its

 initial staff plan. See supra. Following a November 29 public hearing in which one key Senate




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  Plaintiffs have not yet deposed Mr. Dennis and confirm his role in the redistricting process, but
 plan to.


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 staffer described public feedback on the staff plan as “harsh” and “strong criticism” from the

 public, Ex. 57 (John Dep.) at 201:16-202:5, the Senate offered an Amendment, which known as

 the “Campsen Amendment” that ultimately became the enacted Congressional map. But the

 Senate Subcommittee waited over a month and a half to release this plan. And the Subcommittee

 posted the plan less than 48 hours before a hearing on the plan, which limited public review—let

 alone meaningful review.

        On the House side, the initial proposed staff map that met general approval from the public

 and representatives was abruptly replaced by an “alternative” proposal that mirrored the Senate

 staff’s map. Ex. 12 (Bagley Rep.) at 35. Consistent with limiting meaningful public review and

 participation on the Senate side, the House’s Ad Hoc Committee published the “alternative” plan

 on December 22, less than a week before a hearing on this plan and during a timeframe where

 many families are celebrating holidays. Id.

        Additionally, as noted above, key legislative staff and members either arbitrarily elevated

 redistricting criteria or relied upon private instructions not disclosed to members of the public or

 even certain legislators.




                       the Senate, as another example, the primary map drawer, Mr. Roberts,

 admitted that he was given non-public instructions that he relied upon and limited his ability to

 draw lines in certain districts and move certain populations. Ex. 23 (Roberts Dep.) at 176:2-15.

 Key legislative staff and members also considered a plethora of “political” preferences—such as

 not changing as much as possible the lines of CD 7 between the 2011 benchmark and 2020 redraw

 or keeping Sun City in Jasper County whole—that were unwritten, unpublicized, and




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 inconsistently applied. Ex. 28 (Terreni Dep.) at 332-339, 412; Ex. 15 (Fiffick Dep.) at 87, 93-94,

 130. Indeed, while the legislature responded to the majority-white Sun City’s demand to be kept

 whole, it rejected in its enacted plan the public’s clamor to keep areas with significant majority of

 Black residents, such as in North Charleston whole with Charleston County in CD1. Ex. 28

 (Terreni Dep.) at 332-339, 412; see also Ex. 3 (Duchin Rep.) at 17 (documenting other

 communities with significant Black populations that were split, including community members

 urging against such in testimony from public hearings held by the state); Ex. 55 (Duchin Rebuttal

 Rep.) at 3 (similar); Ex. 54 (Liu Rebuttal Rep.) at 4-7 (documenting the racial makeup of counties

 selectively split in the enacted map).

          Instead of addressing these blatant departures from the Legislature’s normal course and

 norms of transparency, Defendants turn the Arlington Heights inquiry—meant to probe

 circumstantial evidence of discriminatory intent—on its head by arguing that Plaintiffs must show

 that the Legislature deviated from the norm by “target[ing]” an “identifiable minority group.” MSJ

 at 33.    In other words, Defendants want to reshape an established judicial inquiry into

 circumstantial evidence into a requirement that Plaintiffs show direct evidence of racial motives.

 That is not the law. Plaintiffs have adduced ample evidence of discriminatory purpose that, at the

 very least, highlights a key factual dispute to be resolved at trial.

                                            CONCLUSION

          For the reasons stated above, Plaintiffs respectfully request that this court deny Senate and

 House Defendants’ Motion for Summary Judgment.




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  Dated: September 2, 2022               Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 2, 2022, a true and correct copy of the foregoing was

 served on all counsel of record by electronic mail.


                                                            /s/ Santino Coleman
                                                            Santino Coleman




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